      Case 22-55949-pwb              Doc 7 Filed 08/03/22 Entered 08/03/22 14:13:14                     Desc 10-day
                                        order grant aplc. insta Page 1 of 1
                                        UNITED STATES BANKRUPTCY COURT
                                             Northern District of Georgia
                                                  Atlanta Division


In      Debtor(s)
Re:     J. Marieh Price                                               Case No.: 22−55949−pwb
                                                                      Chapter: 13


 ORDER GRANTING APPLICATION TO PAY FILING FEE IN INSTALLMENTS FOR
                  INDIVIDUALS OR JOINT DEBTORS
       Debtor or Debtors (hereinafter Debtors) has filed an application to pay the filing fee in three installments, but
did not remit in full the initial payment due at the time of filing. Accordingly, it is ORDERED that:

       1. Debtor's application is granted, provided that Debtor shall pay the balance due on the initial filing fee
installment payment, in the amount of $78.00 by August 15, 2022.

For payments by mail, remit using cashier's check, money order or attorney's check made payable to "Clerk,
United States Bankruptcy Court" to the address listed below:

                                                United States Bankruptcy Court
                                                 1340 Richard Russell Building
                                                   75 Ted Turner Drive, SW
                                                      Atlanta, GA 30303

For payments made by hand delivery to a divisional office in Atlanta, Gainesville, Newnan or Rome, note that
cash is not accepted. You must remit using cashier's check, money order or attorney's check.

Payments may also be made online at: https://www.ganb.uscourts.gov/online−payments

      2. If the Debtor remits the initial installment in full, debtor shall pay an amount not less than one−half of the
unpaid balance of the filing fee as the second installment within 30 days of the petition date; and Debtor shall pay the
remaining unpaid balance of the filing fee as the final installment within 60 days of the petition date:

   Second installment of $117.50 on or before September 1, 2022.
   Final installment of $117.50 on or before October 3, 2022.

      3. If, by the date(s) set forth above, i) the filing fee is not paid in accordance with this Order; ii) no request for
an extension of time is pending; or iii) neither the debtor nor any party in interest has requested a hearing thereon, the
Court may dismiss this case without further notice or hearing.

      4. In accordance with Bankruptcy Rule 1006(b)(3), until the filing fee is paid in full, Debtor shall not pay, and
no person shall accept, any money for services in connection with Debtor's case, and Debtor shall not relinquish, and
no person shall accept, any property as payment for services in connection with this case.

      The Clerk will serve this Order on Debtor, Debtor's Counsel, and Trustee.

  SO ORDERED, on August 3, 2022.




                                                                               Paul W. Bonapfel
                                                                               United States Bankruptcy Judge
Form 307
10−Day Order Granting Application to Pay Filing Fee in Installments
Revised January 2022
